              Case 22-20291-GLT                         Doc 40        Filed 07/28/22 Entered 07/28/22 10:30:47                                Desc Main
                                                                      Document     Page 1 of 1
 Fill in this information to identify your case:

 Debtor 1                    Steven Jay Elliott
                             First Name                      Middle Name                     Last Name

 Debtor 2
 (Spouse if, filing)         First Name                      Middle Name                     Last Name


 United States Bankruptcy Court for the:                WESTERN DISTRICT OF PENNSYLVANIA

 Case number             22-20291
 (if known)




Official Form 423
Certification About a Financial Management Course                                                                                                      12/15
If you are an individual, you must take an approved course about personal financial management if:
    you filed for bankruptcy under chapter 7 or 13, or
    you filed for bankruptcy under chapter 11 and § 1141 (d)(3) does not apply.
In a joint case, each debtor must take the course. 11 U.S.C. §§ 727(a)(11) and 1328(g).
After you finish the course, the provider will give you a certificate. The provider may notify the court that you have completed the course. If
the provider does notify the court, you need not file this form. If the provider does not notify the court, then Debtor 1 and Debtor 2 must each
file this form with the certificate number before your debts will be discharged.
     If you filed under chapter 7 and you need to file this form, file it within 60 days after the first date set for the meeting of creditors under § 341 of the
     Bankruptcy Code.
     If you filed under chapter 11 or 13 and you need to file this form, file it before you make the last payment that your plan requires or before you file a
     motion for a discharge under § 1141(d)(5)(B) or § 1328(b) of the Bankruptcy Code. Fed. R. Bankr. P. 1007(c).
In some cases, the court can waive the requirement to take the financial management course. To have the requirement waived, you must file
a motion with the court and obtain a court order.
 Part 1: Tell the Court About the Required Course.

 You must check one:

              I completed an approved course in personal financial management:
              Date I took the course                   July 13,2022
              Name of approved provider                MoneySharp Credit Counseling Inc
              Certificate Number                       13858-PAW-DE-036682240

              I am not required to complete a course in personal financial management because the court has granted my
              motion for a waiver of the requirement based on (check one):

                       Incapacity.        I have a mental illness or a mental deficiency that makes me incapable of realizing or making rational decisions about
                                          finances.

                       Disability.        My physical disability causes me to be unable to complete a course in personal financial management in person, by
                                          phone, or through the internet, even after I reasonably tried to do so.

                       Active duty.       I am currently on active military duty in a military combat zone.


                       Residence.         I live in a district in which the United States trustee (or bankruptcy administrator) has determined that the approved
                                          instructional courses cannot adequately meet my needs.

 Part 2: Sign Here

 I certify that the information I have provided is true and correct.

    /s/ Steven Jay Elliott                                                           Steven Jay Elliott                   Date    July 28, 2022
    Signature of debtor named on certificate                                         Printed name of debtor




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